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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

 In re:                                                   )   Case No. 19-40883-659
                                                          )   Chapter 11
 PAYLESS HOLDINGS LLC, et al.,                            )
                                                          )   (Joint Administration Requested)
                                      1
                           Debtors.                       )
                                                          )   Hearing Date: February 19, 2019
                                                          )   Hearing Time: 1:30 p.m. (Central Time)
                                                          )   Hearing Location: Courtroom 7 North

           DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL
       ORDERS (I) AUTHORIZING THE DEBTORS TO (A) CONTINUE THEIR
       PREPETITION INSURANCE PROGRAM AND SATISFY PREPETITION
      OBLIGATIONS RELATED THERETO AND (B) RENEW, SUPPLEMENT, OR
     PURCHASE INSURANCE POLICIES, AND (II) GRANTING RELATED RELIEF

          The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

 this motion (the “Motion”) for entry of the proposed interim and final orders (respectively, the

 “Proposed Interim Order” and “Proposed Final Order”)2 (i) authorizing the Debtors to (a)

 continue their prepetition insurance program and satisfy prepetition obligations related thereto

 and (b) renew, supplement or purchase insurance policies and (ii) granting related relief. In

 support of this Motion, the Debtors respectfully state as follows:




 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Payless Holdings LLC [5704]; Payless Intermediate Holdings LLC [5190]; WBG-PSS Holdings LLC
 [0673]; Payless Inc. [3160]; Payless Finance, Inc. [2101]; Collective Brands Services, Inc. [7266]; PSS Delaware
 Company 4, Inc. [1466]; Shoe Sourcing, Inc. [4075]; Payless ShoeSource, Inc. [4097]; Eastborough, Inc. [2803];
 Payless Purchasing Services, Inc. [3043]; Payless ShoeSource Merchandising, Inc. [0946]; Payless Gold Value CO,
 Inc. [3581]; Payless ShoeSource Distribution, Inc. [0944]; Payless ShoeSource Worldwide, Inc. [6884]; Payless
 NYC, Inc. [4126]; Payless ShoeSource of Puerto Rico, Inc. [9017]; Payless Collective GP, LLC [2940]; Collective
 Licensing, LP [1256]; Collective Licensing International LLC [5451]; Clinch, LLC [9836]; Collective Brands
 Franchising Services, LLC [3636]; Payless International Franchising, LLC [6448]; PSS Canada, Inc. [4969]; Payless
 ShoeSource Canada Inc. [4180]; Payless ShoeSource Canada GP Inc. [4182]; and Payless ShoeSource Canada LP
 [4179]. With respect to certain taxing authorities, the Debtors’ address is 2001 Bryan Street, Suite 800, Dallas,
 Texas 75201. However, the location of Debtor Payless Holdings LLC’s corporate headquarters and the Debtors’
 service address is: c/o Payless ShoeSource Inc., 3231 S.E. 6th Avenue, Topeka, Kansas 66607.
 2
   A copy of the Proposed Interim Order and the Proposed Final Order will be provided to the Notice Parties (as
 defined below) and made available on the Debtors’ case information website at https://cases.primeclerk.com/pss.
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                                   JURISDICTION AND VENUE

        1.     The United States Bankruptcy Court for the Eastern District of Missouri (the

 “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and Rule 81-

 9.01(B)(1) of the Local Rules of the United States District Court for the Eastern District of

 Missouri. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        2.     Venue is proper in this district pursuant to 28 U.S.C. §1408 and 1409.

        3.     The statutory bases for the relief requested herein are sections 105 and 363 of title

 11 of the United States Code (the “Bankruptcy Code”) and Rules 6003 and 6004 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 2015-3(B) of the Local Rules

 of Bankruptcy Procedure for the Eastern District of Missouri (the “Local Bankruptcy Rules”).

                                          BACKGROUND

        4.     The Debtors and their non-Debtor affiliates (together, the “Company”) are the

 largest specialty family footwear retailer in the Western Hemisphere, offering a wide range of

 shoes and accessory items at affordable prices. The Company operates approximately 3,400

 stores in more than 40 countries. The Debtors are headquartered in Topeka, Kansas with

 extensive operations that span across the United States, Canada, Latin America, Asia, the Middle

 East, and Europe.

        5.     On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

 businesses and managing their properties as debtors in possession pursuant to sections 1107(a)

 and 1108 of the Bankruptcy Code. The Debtors have requested that their cases be consolidated

 for procedural purposes and administered jointly. No request for the appointment of a trustee or




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 examiner has been made in these chapter 11 cases, and no committees have been appointed or

 designated.

         6.       The Debtors commenced these chapter 11 cases approximately 18 months after

 completing a restructuring and emerging from chapter 11 protection with a reduced debt burden.3

 The Debtors, however, have been unable to sustain profitable operations in the current retail

 environment as a result of various factors more fully described in the Declaration of Stephen

 Marotta, Chief Restructuring Officer of Payless Holdings LLC, in Support of Debtors’ Chapter

 11 Proceedings and First Day Pleadings (the “First Day Declaration”).4 Accordingly, the

 Debtors have determined that the best way to maximize value for all of their stakeholders is to

 liquidate all North America brick and mortar locations through the immediate commencement of

 going out of business sales. The Debtors believe, in the exercise of their business judgment, that

 such measures are in the best interests of the Debtors’ estates.

         7.       A comprehensive description of the Debtors’ businesses and operations, capital

 structure and events leading to the commencement of these chapter 11 cases is set forth in the

 First Day Declaration, filed contemporaneously herewith and incorporated herein by reference.

                                   THE DEBTORS’ INSURANCE PROGRAM

         8.       In the ordinary course of business, the Debtors maintain approximately 110

 domestic and foreign insurance policies (collectively, the “Insurance Policies”)5 that are

 administered by various third-party insurance carriers (collectively, the “Insurance Carriers”).


 3
   On April 4, 2017, the Debtors’ predecessors-in-interest commenced chapter 11 cases (the “Prior Cases”) before the
 United States Bankruptcy Court for the Eastern District of Missouri, which were jointly administered under the
 caption In re Payless Holdings LLC, No. 17-42267. A plan of reorganization was confirmed in the Prior Cases on
 July 26, 2017, and such plan went effective on August 10, 2017.
 4
   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
 Declaration.
 5
   Approximately 60 Insurance Policies are either global or cover North American territory. Such policies are
 included in the schedule attached hereto as Exhibit A.

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 The Insurance Policies provide the Debtors with coverage for, among other things, the Debtors’

 property, general liability, automobile liability, marine cargo, travel accident, directors’ and

 officers’ liability, employment practices liability and fiduciary liability.                   In addition, the

 Insurance Policies include several layers of excess liability coverage and an umbrella policy. A

 schedule of the Insurance Policies is attached hereto as Exhibit A,6 which is incorporated herein

 by reference.

         A.       Premium Payments

         9.       In fiscal year 2018 (“Fiscal Year 2018”), the Debtors paid approximately $3.2

 million in the aggregate in premiums for the Insurance Policies, plus applicable taxes and

 surcharges, deductibles, broker and consulting fees and commissions (the “Premiums”). The

 Insurance Policies are generally one year in length and renew at various times throughout the

 year. For most of the Insurance Policies, the Debtors prepay the entire Premium on or around the

 start date of each policy period. The Premium payments for certain of the Insurance Policies are

 made in several installments during the policy period, as set forth in each insurance contract,

 respectively.

         10.      As of the Petition Date, the Debtors estimate that they owe approximately

 $400,000 in Premiums on account of the Insurance Policies, all of which will become due within

 21 days after the Petition Date. The Debtors do not believe that they were in default of any

 6
   The descriptions of the Insurance Policies set forth in Exhibit A constitute a summary only. The actual terms of
 the Insurance Policies and related agreements will govern in the event of any inconsistency with the descriptions
 contained in this Motion. The Debtors request authority to honor obligations and renew all Insurance Policies, as
 applicable, regardless of whether the Debtors inadvertently fail to include a particular insurance policy on Exhibit
 A. Moreover, and in addition to the Insurance Policies listed on Exhibit A, the Debtors maintain numerous
 insurance policies with respect to, among other things, workers’ compensation, employee health, dental, and
 disability. These programs are described, and relief is requested with respect to such programs, in the Debtors’
 Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay Prepetition Wages,
 Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits Programs, and (II)
 Granting Related Relief (the “Wages Motion”), filed contemporaneously herewith.


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 Premiums obligations due under the Insurance Policies as of the Petition Date. As such, the

 Debtors seek authority to remit up to $400,000 in Premium obligations on account of the

 Insurance Policies upon entry of the Proposed Interim Order and purchase additional insurance

 required in Canada as may be permitted by the Canadian court, and, pursuant to the Proposed

 Final Order, the Debtors seek authority to continue paying Premium obligations in the ordinary

 course of business on a postpetition basis to ensure uninterrupted coverage of their Insurance

 Policies.7

         11.     Certain of the Insurance Policies are subject to regular audits (the “Insurance

 Policy Audits”), which may result in adjustments of the Premiums owed on account thereof.

 Insurance Policy Audits for prepetition Premium payments will not conclude until after the

 Petition Date. As a result, the aggregate amount of the Debtors’ obligations arising from the

 Insurance Policy Audits is not known at this time. Accordingly, the Debtors seek authority to

 honor any amounts owed on account of any Insurance Policy Audits in the ordinary course of

 business.

         B.      Deductible Fees

         12.     Some of the Insurance Policies require the Debtors to pay a per incident

 deductible (a “Deductible”).        For instance, the Debtors’ general liability and auto liability

 policies carry a $500,000 deductible, per claim. Other Insurance Policies with Deductibles have

 per claim deductibles ranging from $250,000 to $1,000,000. Depending on the type of claim and

 the applicable Insurance Policy, the Debtors must ultimately pay up to the applicable deductible


 7
   As described in the Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to
 (A) Continue to Operate Their Cash Management System, (B) Honor Certain Prepetition Obligations Related
 Thereto, (C) Maintain Existing Business Forms, and (D) Continue to Perform Intercompany Transactions and (II)
 Granting Related Relief (the “Cash Management Motion”) from time to time the Debtors may be obligated to pay
 Premiums on account of the Insurance Policies on behalf of foreign non-Debtor subsidiaries.


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 threshold for each successful or settled claim against these particular Insurance Policies. Any

 claim amounts due in excess of the deductible threshold for any given claim are the Insurance

 Carrier’s responsibility. The Debtors’ Insurance Policies do not have any annual deductible

 thresholds.

         13.      Generally, if a claim is made against one of the Debtors’ Insurance Policies, the

 Insurance Administrator (as defined below) or an Insurance Carrier will administer the claim and

 make any payments in connection therewith. On a weekly basis, the Debtors reimburse,8 via a

 deductible payment to a bank account managed by the Debtors’ for this purpose, the Insurance

 Administrator or the Insurance Carrier for applicable payments made on account of insurance

 claims (the “Deductible Fees”).9

         14.      As of the Petition Date, the Debtors estimate that approximately $360,000 in

 Deductible Fees on account of prepetition claims under the Insurance Policies will become due

 and owing within 21 days of the Petition Date. Additionally, going forward, the Debtors will

 need to continue paying Deductible Fees on a weekly basis (should they arise) to preserve the

 coverage provided under certain Insurance Policies. Over the last year, the Deductible Fees

 averaged approximately $120,000 per week, but such amount varies from week to week and the

 weekly (or aggregate) liability on account of Deductible Fees during the pendency of these

 chapter 11 cases (or during the first three weeks of these cases) cannot be ascertained with any

 degree of certainty as of the Petition Date. Accordingly, the Debtors request authority pursuant

 to the Proposed Interim Order to remit up to $360,000 in Deductible Fees on account of

 8
   If a single claim amount exceeds $100,000, the Debtors prefund that claim when paying Deductible Fees (as
 defined below).
 9
   The Debtors utilize the services of Gallagher Basset to serve as a third-party administrator for automobile and
 workers’ compensation claims (the “Insurance Administrator”), alleviating the substantial burden on the Debtors
 that would result from needing to administer the claims process for these claims, as partially more described in the
 Wages Motion.

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 prepetition claims that become due and owing within the 21 days of the Petition Date, and to

 continue paying Deductible Fees in the ordinary course of business on a postpetition basis to

 ensure uninterrupted coverage of the Insurance Policies.

         C.       Insurance Broker and Administrator Fees

         15.      The Debtors obtain their Insurance Policies through their insurance brokers,

 Lockton Companies, LLC (“Lockton”), Marsh USA (“Marsh”), JLT Specialty (“JLT”) and BFL

 Canada Risk & Insurance (“BFL”) and their respective affiliates (collectively, the “Insurance

 Brokers”). The Insurance Brokers assist the Debtors in obtaining comprehensive insurance

 coverage for their operations in a cost-effective manner, negotiating policy terms, provisions and

 premiums, assisting with Debtors with claims, and providing ongoing support throughout the

 applicable policy periods.

         16.      The Debtors pay the Insurance Brokers on account of their services in various

 manners (all such payments collectively, the “Brokerage Fees”). The Brokerage Fees on account

 of services provided by Marsh, JLT and BFL are included in the Premiums paid on account of

 the Insurance Policies. By contrast, Lockton charges the Debtors a flat annual fee of $160,550

 for its services, which fee is paid once a year.10 As of the Petition Date, the Debtors do not

 believe that they owe any amounts to the Insurance Brokers on account of Brokerage Fees or any

 other prepetition obligations.

         17.      The Debtors pay the Insurance Administrator approximately $20,000 per month

 on account of its services (the “Insurance Administrator Fees”). As of the Petition Date, the



 10
    The Brokerage Fees for Lockton also include fees for its services related to procurement of surety bonds, as
 described more fully in the Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors
 to Continue and Renew the Surety Bond Program on an Uninterrupted Basis, and (II) Granting Related Relief (the
 “Surety Bond Motion”), filed contemporaneously herewith.


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 Debtors do not believe that they owe any amounts to the Insurance Administrator on account of

 Insurance Administrator Fees.

        18.     Notwithstanding the foregoing, out of an abundance of caution, the Debtors

 request authority to pay any prepetition amounts outstanding on account of Brokerage Fees and

 Insurance Administrator Fees and to continue paying Brokerage Fees and Insurance

 Administrator Fees in the ordinary course of business on a postpetition basis in order to ensure

 uninterrupted coverage and administration of the Insurance Policies.

                                       RELIEF REQUESTED

        19.     By this Motion, and pursuant to of Bankruptcy Code sections 105(a), 363(b), 503,

 1107(a), 1108 and 1112(b) and Rule 6004 and Local Rule 2015-3(B), the Debtors seek entry of

 the Proposed Interim Order and Proposed Final Order: (i) authorizing the Debtors to (a) continue

 insurance coverage entered into prepetition and satisfy prepetition obligations related thereto in

 the ordinary course of business and (b) renew, supplement or purchase insurance coverage in the

 ordinary course of business on a postpetition basis; and (ii) granting related relief. In addition,

 the Debtors request that the Court schedule a final hearing within approximately 21 days of the

 commencement of these chapter 11 cases to consider approval of this Motion on a final basis.

                                        BASIS FOR RELIEF

 I.     The Bankruptcy Code and U.S. Trustee Guidelines Require the Debtors to Maintain
        Insurance Coverage and Satisfy Their Insurance Obligations

        20.     As discussed above, the Debtors’ existing Insurance Policies provide a

 comprehensive range of protection for the Debtors’ businesses, properties and assets. As such, it

 is essential that the Debtors’ insurance coverage continues in full force and effect during the

 course of these chapter 11 cases. Under Bankruptcy Code Section 1112(b)(4)(C), “failure [of a



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 debtor] to maintain appropriate insurance [where such failure] poses a risk to the estate or to the

 public” is “cause” for mandatory conversion or dismissal of a chapter 11 case. 11 U.S.C. §

 1112(b)(4)(C). In addition, the Chapter 11 Guidelines for Debtors-in-Possession (the “U.S.

 Trustee Guidelines”) require that a debtor “shall maintain” certain types of insurance coverage

 following the Petition Date, and “make all premium payments thereon when due.” See U.S.

 Trustee Guidelines, § 6. To ensure that the Debtors comply with Bankruptcy Code section

 1112(b)(4)(C), applicable state and federal regulations, and the U.S. Trustee Guidelines, the

 Debtors respectfully request the authority to: (i) pay the prepetition amounts currently due and

 owing under the Insurance Policies in the ordinary course of business, including those prepetition

 amounts due in connection with Premiums, Deductible Fees and Brokerage Fees; (ii) continue to

 honor obligations arising under the Insurance Policies and, if necessary, (iii) renew, supplement,

 or purchase insurance coverage on a postpetition basis in the ordinary course of their businesses.

 II.    Renewing, Supplementing, Entering into New Policies, and Paying Obligations
        Under the Insurance Policies in the Ordinary Course of Business are Warranted

        21.     Bankruptcy Code section 363(c)(1) expressly grants the Debtors the authority to

 “enter into transactions . . . in the ordinary course of business” and “use property of the estate in

 the ordinary course of business without notice or a hearing.” Therefore, the Debtors believe they

 are permitted to pay all postpetition amounts due pursuant to the Insurance Policies and to renew

 or obtain new insurance policies as such actions are in the ordinary course of the Debtors’

 businesses and are necessary throughout these chapter 11 cases. Out of an abundance of caution,

 however, the Debtors seek entry of an order granting the relief requested herein to avoid any

 disruptions to the administration of these chapter 11 cases.




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        22.     The relief requested herein may be granted by the Court pursuant to Bankruptcy

 Code sections 363(b) and 105(a). Bankruptcy Code section 363(b) provides, in relevant part,

 that “[t]he [debtor], after notice and a hearing, may use, sell or lease, other than in the ordinary

 course of business, property of the estate.” 11 U.S.C. § 363(b)(1). Under section 363(b), courts

 require only that the debtor “show that a sound business purpose” justifies the proposed use of

 property. See In re Wehrenberg, Inc., 260 B.R. 468, 469 (Bankr. E.D. Mo. 2001) (authorizing

 debtor to pay prepetition claims of vendors because the vendors are “critical to the Debtor’s

 reorganization”); In re Channel One Commc’ns, Inc., 117 B.R. 493, 496 (Bankr. E.D. Mo. 1990)

 (authorizing sale of assets because there was a “good business reason to grant such an

 application”); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063,

 1071–72 (2d Cir. 1983) (requiring a “good business reason” to approve a sale pursuant to section

 363(b)); In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999) (under

 section 363(b), debtor must “show that a sound business purpose” justifies the proposed use of

 property). Moreover, Bankruptcy Code section 503(b)(1)(A) provides that: “After notice and a

 hearing, there shall be allowed, administrative expenses[,] including . . . the actual, necessary

 costs and expenses of preserving the estate.” 11 U.S.C. § 503(b)(1)(A). The Court, therefore,

 can authorize the Debtors to use estate funds to pay any obligations under the Insurance Policies

 arising during or relating to the period after the Petition Date.

        23.     Further, the Court may authorize payment of prepetition claims in appropriate

 circumstances under Bankruptcy Code section 105(a).            Section 105(a), which codifies the

 inherent equitable powers of the bankruptcy court, empowers the bankruptcy court to “issue any

 order, process, or judgment that is necessary or appropriate to carry out the provisions of this

 title.” 11 U.S.C. § 105(a). Under Bankruptcy Code section 105(a), courts may permit preplan


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 payments of prepetition obligations when essential to the continued operation of a debtor’s

 businesses.     The bankruptcy court’s power under section 105(a) to authorize payment of

 prepetition obligations is popularly referred to as the “necessity of payment” rule (also referred

 to as the “doctrine of necessity”).

        24.      Courts in this and other districts have long recognized the “doctrine of necessity”

 or the “necessity of payment” rule, as the rehabilitation of a debtor in reorganization cases is “the

 paramount policy and goal of Chapter 11.” In re Wehrenberg, Inc., 260 B.R. 468, 469 (Bankr.

 E.D. Mo. 2001) (“Pursuant to 11 U.S.C. § 105(a) the Court may authorize the payment of

 prepetition claims when such payments are necessary to the continued operation of the Debtor.”);

 In re United Am., Inc., 327 B.R. 776, 781 (Bankr. E.D. Va. 2005) (acknowledging the existence

 of the doctrine of necessity “because otherwise there will be no reorganization and no creditor

 will have an opportunity to recoup any part of its pre- petition claim”); In re Just For Feet, 242

 B.R. 821, 826 (D. Del. 1999) (finding that payment of prepetition claims to certain trade vendors

 was “essential to the survival of the debtor during the chapter 11 reorganization”); In re Quality

 Interiors, Inc., 127 B.R. 391, 396 (Bankr. N.D. Ohio 1991) (“[P]ayment by a debtor-in-

 possession of pre-petition claims outside of a confirmed plan of reorganization is generally

 prohibited by the Bankruptcy Code,” but “[a] general practice has developed . . . where

 bankruptcy courts permit the payment of certain pre-petition claims, pursuant to 11 U.S.C. § 105,

 where the debtor will be unable to reorganize without such payment.”) and Burchinal v. Cent.

 Wash. Bank (In re Adams Apple, Inc.), 829 F.2d 1484, 1490 (9th Cir. 1987) (recognizing that

 allowance of “unequal treatment of pre-petition debts when necessary for rehabilitation” is

 appropriate).




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        25.     Relief similar to the relief requested herein is routinely granted in this district.

 See, e.g., In re Armstrong Energy, Inc., No. 17-47541-659 (Bankr. E.D. Mo. Dec. 1, 2017)

 [Docket No. 205]; In re Payless Holdings, LLC, No. 17-42267-659 (Bankr. E.D. Mo. May 9,

 2017) [Docket No. 634]; In re Total Hockey, Inc., No. 16-44815-705 (Bankr. E.D. Mo. July 26,

 2016) [Docket No. 184]; In re Peabody Energy Corp., No. 16-42529-399 (Bankr. E.D. Mo. May

 17, 2016) [Docket No. 519]; In re Noranda Aluminum, Inc., No. 16-10083-399 (Bankr. E.D. Mo.

 Feb. 11, 2016) [Docket No. 107]; In re Arch Coal, Inc., No. 16-40120-705 (Bankr. E.D. Mo.

 Jan. 14, 2016) [Docket No. 85]; and In re Bakers Footwear Grp. Inc., No. 12-49658-705 (Bankr.

 E.D. Mo Oct. 9, 2012) [Docket No. 76].

        26.     The Debtors submit that there is sufficient business justification to grant the relief

 requested herein because failure to pay Premiums and related insurance expenses when due may

 harm the Debtors’ estates in several ways. Specifically, continuation of the Insurance Policies is

 essential to the preservation of the value of the Debtors’ assets and operations during these

 chapter 11 cases.     Moreover, in many instances, insurance coverage is required by the

 regulations, laws, and contracts that govern the Debtors’ activities.

        27.     The Debtors believe it is essential to their estates that they continue to maintain

 and make all payments required under their Insurance Policies, and have the authority to

 supplement, amend, extend, renew or replace their Insurance Policies pursuant to Bankruptcy

 Code sections 105(a), 363(b) and 503. Indeed, the Debtors’ Insurance Policies are essential to

 the preservation of the value of the Debtors’ businesses, properties, assets and the estates, as well

 as their ability to successfully prosecute these chapter 11 cases. Accordingly, in the event any of

 the Insurance Policies lapse or new coverage is required or necessary, it is imperative that the

 Debtors be able to renew, supplement or purchase insurance coverage on a postpetition basis in


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 the ordinary course of business. The Insurance Policies protect the Debtors and other parties in

 interest from losses caused by casualty, natural disaster, fraud or other unforeseen events.

 III.   Processing of Checks and Electronic Fund Transfers Should Be Authorized

        28.      The Debtors have sufficient funds to pay the amounts described in this motion. In

 addition, under the Debtors’ existing cash management system, the Debtors can readily identify

 checks or wire transfer requests as relating to an authorized payment in respect of the Insurance

 Policies. Accordingly, the Debtors believe that checks or wire transfer requests, other than those

 relating to authorized payments, will not be honored inadvertently. Therefore, the Debtors

 respectfully request that the Court authorize and direct all applicable financial institutions, when

 requested by the Debtors, to receive, process, honor and pay any and all checks or wire transfer

 requests in respect of the relief requested in this Motion.

                 THE REQUIREMENTS OF BANKRUPTCY RULE 6003 ARE SATISFIED

        29.      Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days

 after the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable

 harm.” Fed. R. Bankr. P. 6003(b). Immediate and irreparable harm exists where the absence of

 relief would impair a debtor’s ability to reorganize or threaten the debtor’s future as a going

 concern.     For the reasons discussed above, authorizing the Debtors to continue to honor

 obligations arising under the Insurance Policies and, if necessary, to renew, supplement or

 purchase insurance coverage on a postpetition basis in the ordinary course of business is vital to

 the Debtors’ operations and the failure to permit such relief can potentially severely disrupt the

 Debtors’ operations at a critical juncture. Accordingly, the Debtors submit that they have

 satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support

 granting the relief requested herein.


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                      WAIVER OF BANKRUPTCY RULES 6004(A) AND 6004(H)

        30.     To implement the foregoing successfully, the Debtors request that the Court enter

 an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

 and that the Debtors have established cause to exclude such relief from the 14-day stay period

 under Bankruptcy Rule 6004(h).

                                     RESERVATION OF RIGHTS

        31.     Nothing contained herein is intended or should be construed as an admission as to

 the validity of any claim against the Debtors, a waiver of the Debtors’ or any other parties-in-

 interests’ rights to dispute any claim, or an approval or assumption of any agreement, contract or

 lease under Bankruptcy Code section 365. The Debtors expressly reserve their right to contest

 any claim related to the relief sought herein. Likewise, if the Court grants the relief sought

 herein, any payment made pursuant to an order of the Court is not intended to be nor should it be

 construed as an admission as to the validity of any claim or a waiver of the Debtors’ or any other

 parties-in-interests’ rights to subsequently dispute such claim.

                                               NOTICE

        32.     The Debtors will provide notice of this Motion to: (a) the Office of the United

 States Trustee for the Eastern District of Missouri; (b) the holders of the 50 largest unsecured

 claims against the Debtors (on a consolidated basis); (c) counsel to the Prepetition ABL

 Administrative Agent, (i) Choate Hall & Stewart LLP (Attn: Kevin Simard, Douglas Gooding

 and Jonathan Marshall) and (ii) Thompson Coburn LLP (Attn: Mark Bossi); (d) counsel to the

 FILO Agent, Greenberg Traurig, LLP (Attn: Jeffrey M. Wolf); (e) counsel to certain Prepetition

 Term Loan Lenders (i) Kramer Levin Naftalis & Frankel LLP (Attn: Stephen D. Zide), (ii)

 Doster, Ullom & Boyle, LLC (Attn: Gregory D. Willard), (iii) Stroock & Stroock & Lavan LLP


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 (Attn: Kristopher M. Hansen and Daniel A. Fliman) and (iv) Lewis Rice LLC (Attn: Sonette T.

 Magnus); (f) the proposed Monitor, FTI Consulting Canada, Inc. (Attn: Paul Bishop, Greg

 Watson and Jim Robinson); (g) counsel to the proposed Monitor, Bennett Jones LLP (Attn:

 Sean Zweig, Kevin Zych and Aiden Nelms); (h) counsel to any statutory committee appointed

 in the chapter 11 cases; (i) the United States Attorney’s Office for the Eastern District of

 Missouri; (j) the Internal Revenue Service; (k) the United States Securities and Exchange

 Commission; (l) the state attorneys general for all states in which the Debtors conduct business;

 (m) any party that has requested notice pursuant to Bankruptcy Rule 2002; and (n) the

 Insurance Carriers (collectively, the “Notice Parties”). The Debtors submit that, in light of the

 nature of the relief requested, no other or further notice need be given.

                                            CONCLUSION

          33.   WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

 that the Court (a) enter the Proposed Interim Order granting the relief requested in the Motion

 and such other and further relief as may be just and proper, and (b) schedule a final hearing on

 the Motion as soon as is otherwise practicable thereafter to consider entry of the Proposed Final

 Order.



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 Dated: February 19, 2019
        St. Louis, Missouri
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                                        Erin M. Edelman MO 67374
                                        John G. Willard MO 67049
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                                        -and-
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                                        Meredith A. Lahaie (pro hac vice admission pending)
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                                        - and -

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                                        Proposed Counsel to the Debtors and Debtors in
                                        Possession




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                                     Exhibit A

                                 Insurance Policies
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                                                                                                                        Approximate
                               Insurance                                Effective    Expiration    Geographic/Foreign
    Type of Policy                                 Policy Number                                                         Annualized
                               Carrier(s)                                 Date         Date           Limitations
                                                                                                                          Premium
    Workers Comp            Zurich American        WC5918470 13          5/1/2018     5/1/2019            US             $369,791
                                Ins. Co.
    Workers Comp            Zurich American       WC 5918471 13          5/1/2018     5/1/2019            US              $1,142
                                Ins. Co.
    Workers Comp            Pacific Indemnity      WC001600007          5/27/2018    5/27/2019        Guam/Saipan         $2,818
                                 Ins. Co.


   General Liability        Zurich American     GLO5918469-12 (US)       5/1/2018     5/1/2019            US             $154,227
                                Ins. Co.
   General Liability         Zurich Canada         8834208 (CAN)         5/1/2018     5/1/2019          Canada            $8,486
         Auto               Zurich American     BAP5918468-12 (U.S)      5/1/2018     5/1/2019            US              $28,525
                                Ins. Co.
         Auto                Zurich Canada       AF 9800025 (CAN)        5/1/2018     5/1/2019          Canada            $14,538
       Property              Liberty Mutual     YAC-L9L-448456-028       2/1/2019     2/1/2020           Global          $644,106
     Local Property           Royal & Sun         COM047201595           2/1/2019     2/1/2020          Canada            $32,880
                               Alliance
         Cargo               AGCS Marine            OC96062300           2/1/2019     2/1/2020           Global           $35,286
                              Insurance
                              Company
                               (Allianz)

    Travel Specialty        International SOS   n/a Service Agreement    2/1/2019     2/1/2020           Global           $43,002


Business Travel Accident     ACE American        ADDN01172013R           2/1/2019     2/1/2020           Global           $36,960
                               Insurance
                               Company

 Storage Tank Liability      ACE American          G24730438 005        10/10/2018   10/10/2019           US              $1,027
                               Insurance
                               Company
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   Umbrella Liability        American            AUC 0140954-01      5/1/2018     5/1/2019         Global     $147,662
                            Guarantee and
                              Liability
                             Insurance
                             Company
                              (Zurich)


    Excess Liability          Navigators        CH18FXR862843IV      5/1/2018     5/1/2019         Global     $29,155
                              Insurance
                              Company

    Excess Liability          The Ohio          ECO (19) 5590 2385   5/1/2018     5/1/2019         Global     $25,000
                               Casualty
                              Insurance
                              Company
                              (Liberty)

    Excess Liability        Allianz Global        USL 00056318       5/1/2018     5/1/2019         Global     $25,000
                              Risks US
                              Insurance
                              Company

    Excess Liability        Great American       TUE 6680256 12      5/1/2018     5/1/2019         Global     $25,000
                              Insurance
                              Company

    Excess Liability            C.N.A              6024082862        5/1/2018     5/1/2019         Global     $25,000
    Excess Liability         XL Insurance       US00008657LI18A      5/1/2018     5/1/2019         Global     $25,000
   Foreign Casualty            Generali           GFP900023-02       5/1/2018     5/1/2019         Global     $43,475
    Cyber Primary           Beazley Group        W1C0D9180301        7/15/2018   8/10/2019         Global     $176,175
   Cyber First Excess         XL Catlin           MTE903377102       7/15/2018   8/10/2019         Global     $88,358
 Cyber Second Excess          Argo Pro              XS407451         7/15/2018   8/10/2019         Global     $31,066
Monopolistic WC Alberta     Monopolistic -           3944192         1/1/2019    12/31/2019        Canada     $24,000
                            Local Agency
Monopolistic WC British     Monopolistic -           6119267         1/1/2019    12/31/2019        Canada     $56,000
     Columbia               Local Agency


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 Monopolistic WC Nova Scotia     Monopolistic -         185230         1/1/2019    12/31/2019         Canada        $15,200
                                 Local Agency
   Monopolistic WC Ontario       Monopolistic -        2111989         1/1/2019    12/31/2019         Canada        $215,000
                                 Local Agency
   Monopolistic WC Quebec        Monopolistic -       3363413959       1/1/2019    12/31/2019         Canada        $10,000
                                 Local Agency
Monopolistic WC Saskatchewan     Monopolistic -        A113399         1/1/2019    12/31/2019         Canada         $5,100
                                 Local Agency
  Monopolistic WC Manitoba       Monopolistic -        1299528         1/1/2019    12/31/2019         Canada         $3,000
                                 Local Agency
Monopolistic WC New Brunswick    Monopolistic -         600272         1/1/2019    12/31/2019         Canada         $7,100
                                 Local Agency
Monopolistic WC Newfoundland     Monopolistic -        2039124         1/1/2019    12/31/2019         Canada         $5,800
                                 Local Agency
Monopolistic WC Prince Edwards   Monopolistic -         18983          1/1/2019    12/31/2019         Canada         $2,400
                                 Local Agency
 Monopolistic WC Puerto Rico     Monopolistic -       9212001024       1/1/2019    12/31/2019       Puerto Rico     $80,000
                                 Local Agency
Monopolistic WC Ohio DC/Stores   Monopolistic -    80008491/80008492   7/13/2018   7/13/2019            US          $450,000
                                 Local Agency
 Monopolistic WC Washington      Monopolistic -       913, 129-01      1/1/2019    12/31/2019           US          $140,000
                                 Local Agency
 Monopolistic WC North Dakota    Monopolistic -         652016         1/1/2019    12/31/2019           US           $6,000
                                 Local Agency
  Monopolistic WC Wyoming        Monopolistic -        5043316         1/1/2019    12/31/2019           US           $4,500
                                 Local Agency
Monopolistic WC Virgin Islands   Monopolistic -          9927          1/1/2019    12/31/2019      Virgin Islands    $8,200
                                 Local Agency
        D&O Primary               Nationwide          PHF1800357       8/10/2018   8/10/2019          Global        $65,511
       D&O First Excess          Tokio Marine      14-MGU-18-A44602    8/10/2018   8/10/2019          Global        $42,582



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                          D&O Second Excess                  Continental             652024450            8/10/2018       8/10/2019         Global       $34,950
                                                              Casualty
                                                              Company

                           D&O Third Excess                    Chubb            DOX G46801507 002         8/10/2018       8/10/2019         Global       $30,008
                           D&O Fourth Excess                   Beazley            V241BC180101            8/10/2018       8/10/2019         Global       $30,000
                         D&O Lead Side A/DIC                  Lloyd's of        B0509FINMW1801322         8/10/2018       8/10/2019         Global       $30,000
                                                               London
                    International D&O (Side-A Only)            Zurich           B0509FINMW1801469         8/10/2018       8/10/2019      International   $37,605
                           Local D&O Canada                                     B0509FINMW1801468         8/10/2018       8/10/2019        Canada        $10,800
                              EPL Primary                    Nationwide             PHF1800357            8/10/2018       8/10/2019         Global       $109,604
                               EPL Excess                      Beazley            V241C1180101            8/10/2018       8/10/2019         Global       $49,000
                            Fiduciary Primary                Nationwide             PHF1800357            8/10/2018       8/10/2019         Global       $20,106
                            Fiduciary Excess                 Continental             596816933            8/10/2018       8/10/2019         Global        $5,400
                                                              Casualty
                                                              Company

                             Crime Primary                     Beazley            V2417D180101            8/10/2018       8/10/2019         Global       $48,849
                              Crime Excess                       RLI               BND0101854             8/10/2018       8/10/2019         Global       $27,000
                              Special Crime                    Chubb                 8225-9848            8/10/2018       8/10/2019         Global       $36,454
                                                                           11
                          Runoff D&O Primary               JLT Specialty                                  8/10/2018       8/10/2015         Global       $163,778
                        Runoff D&O First Excess             JLT Specialty                                 8/10/2018       8/10/2025         Global       $106,455
                       Runoff D&O Second Excess             JLT Specialty                                 8/10/2018       8/10/2025         Global       $87,375
                       Runoff D&O Third Excess              JLT Specialty                                 8/10/2018       8/10/2025         Global       $150,000
                       Runoff D&O Fourth Excess             JLT Specialty                                 8/10/2018       8/10/2025         Global       $75,000




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     Certain of the Debtors’ insurance policies, while fully active, are newly renewed and do not yet have a policy number.


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